Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 1 of 23 Page ID #:475


                                                                  ~,                ---

 1
   Yaxian Fan                                                     N'        _ 4 ~~
   Email: fay731@yahoo.com
 2                                                               BY     v
   Address: 248 Overbrook,                                                  RICTOFCALIFORNIA
                                                                                     DEPUTY
 3 Irvine, CA 92620                                                                        ~~
 4 Phone: 310
                486-5282
   Plaintiff in Self-Represent
 5

 6                       UNITED STATES DISTRICT COURT
 7                        CENTRAL DISTRICT OF CALIFORNIA
 8
     YAXIAN FAN                                    Case No.: 8:22-CV-02178-FWS-(DFMx)
 9
10                Plaintiff. vs.                   IN OPPOSITION TO MOTION TO
11                                                 DISMISS SAC.PURSUANT CITIZEN'S
12   CITY OF NEWPORT BEACH                         IMMUNITY,FOR CIVIL RIGHT FOR
                                                   FAIR TRIAL AND CHILDREN SAFETY,
13
                Defendant. vs.                     WITH DUE PROCESS 14TH AMENDMET
14

15                                                 Hearing Date: January 25, 2024
16   KEITH E. RODERHUIS,2°d Defendant              Time: 10.00 AM
                                                   Judge: Honorable, Fred W. Slaughter
17
        Owner of KER Legal Group                   Courtroom: lOD
18

19
           TO THE HONORABLE JUDGE SLAUGHTER FOR THE UNITED STATES
20

21
                      TO THE FEDERAL COURT AND DEFENDANTS

22    Plaintiff has pleaded sufficient facts to state pursuant for civil right to have fair trial ands

23   children's safety that to prevent no anyone injury again, to determine with citizen's

24   immunity protection in due process of law under fourteenth amendment.
25    Moreover, respectfully submits in opposition to motion dismiss SAC. See docket #33-34
26   Also, refer Plaintiff filed Second Amendment Compliant on October 31, 2023, docket # 31
27   I, Defendants destroyed Noerr doctrine protection, due to they illegally conduct
28   engaged in conspiracy,violation in due process,to corrupt OCSC filing legal system.



        PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 2 of 23 Page ID #:476




     Defendants all for one purpose, to deprive Plaintiffs civil right for fair trial.

 2   Plaintiff all legal actions, that for one purpose, to fight back for fair trial, that was

 3   deprived twice by Defendants, both parties all focus on Civil right for fair trial.
 4      Therefore, in this lawsuit, it is due process of law under 14t" Amendment Apply!
 5      Fourteenth Amendment SECTION 1: Nor State shall make or enforce any law
 6   which shall abridge the privileges or Immunities of Citizens of the United States;
 7   Nor shall any State deprive any person of life, liberty, or property, without due
 8 ~ process of law; nor deny to any person within jurisdiction equal protection of laws.
 9
      Fourteenth Amendment's first section includes several clauses: Citizenship Clause,
10
     Privileges Immunities Clause, Due Process Clause, and Equal Protection Clause.
11
     Plaintiff is qualifying for all clauses in this lawsuit, but deprived all by Defendants.
12
      "Due Process" refers to fair procedures of law is protecting Plaintiff's Citizen Civil
13
     ~ Right for fair trial, which deprived by KER with someone from the city,(demand name
14
     ~ and position) who has power above the laws, engaged in conspiracy, in violation due
15
     process, to corrupt OCSC filing and legal systems.
16
       On November 21, 2023, Defendants filed motion to dismiss SAC,see dkt 33, p.8:12
17
18
     KER finally admitted: "that Defendants allowed the Oange County Superior Court's

19   CouYtroom clerk to hold onto Plaintiff's documents, recovered costs against Plaintiffas

20   the pYevailing party in that suit, andfiled and later withdYew a sanctions motion
21   against Plaintiff. Specifically, Plaintiffasserts numerous allegations against the City—
22   All of which, ifaccepted as true, are protected under the Noerr-Pennington doctrine"
23     Analysis "Defendants allowed" that means: KER with Someone (demand name and
24   position) from the City of Newport Beach engaged in conspiracy, together to control
25   OCSC Courtroom (not clerk) was Supervisor Stacy D. Secours, given to him Plaintiff's
26   name, case number, motion date and time, thereafter, he twice holds onto Plaintiff's
27
     opposition summary judgement documents, it was filed onl 1/18/2020 and 11/24/2020.
28


                                                 2
        PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 3 of 23 Page ID #:477




 1      Because Defendants engage in conspiracy, able to control OCSC Courtroom's filing

 2   system, can able to above the law of Equal Right in Due Processing, can decide which

 3   party allow or disallow for fair proceeding and Court Trial. Therefore, Plaintiff's
 4   opposition summary judgement documents cannot scan to Docket, Judges (include
 5   Appellant Judges) cannot read and cannot see all evidence in support. which to
 6   deprived Plaintiff's Civil Right for the fair trial and Children's safety.
 7      Its same as play basketball, Defendants told the referee to kick out Plaintiff twice as
 8   an opposition, only allowed KER play all the way with only his opinion, that was unfair
 9   and untrue totally. Also, KER extremely shameful to claim many times by emails and
10
     letter KER is prevailing party without opposition. KER has been malicious threatening to
11
     extorsion and garnish Deposition Cost that disallowable cost by CCCP. 1033.5(b)(2).
12
     On 3/2/2023, OCSC assigned Judge Salter's final ruling: "The defendant claimed $3,776
13
     in deposition cost, the burden ofproofrests with the moving party to show the costs are
14
     not statutorily authorized or unnecessary ofnot unreasonable underfacts."
15
     Recently, KER changes to harassing cost, Can you show the bill payable to and details,
16
     let Federal Court and victim check if verifiable. See exhibit 1; 7; docket 31.
17
18
     After verbally granted summary judgement by Judge George, as temporary only once in

19 five minutes on 12/3/2020, I still following the court scheduled by assigned Judge,
20   meanwhile, focused on prepared Trial Brief Documents and E~ibits with in three holes
21   blinder and turned in courtroom C22 for fair trial on March 29, 2021.
22      It was shocked Judge George signed proposed judgement(was drafted by KER, only
23   on his opinion) over 90 days, from 12/3/2020 to 3/3/2021, did not notice Plaintiff
24   should file an Appeal. That was against California Rules of Court 3.159:(i)"ifa
25   writtenjudgement is Yequired, the court must sign andfile thejudgement within SO days
26 .after the announcement or service ofthe tentative decision.
27
28


                                                    3
        PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAL,TO PUKSUAN'1' llUE PROCESS 14"1'H AMENllMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 4 of 23 Page ID #:478




 1       A Judge should notify the parties of the subject matter ofthe communication and

 2   allow the parties an opportunity to respond, if requested, but Judge George did not.

 3       A Judge should perform those duties with respect, impartially, courteous, and
 4   diligently for assigned Judge scheduled court trial, but Judge George did not.
 5      Even the Judge has immunity, but should be faithful to, and maintain professional
 6   competence in the law, and follow the Court Rules, but Judge George did not.
 7      From two judges in this lawsuit to confused Plaintiff who should to following?
 8   Now,I understand, that was part of corruption which conducted by Defendants to
 9 ~ informed the Judge Geroge, as temporary, only once in the case, to granted summary
10
     ~judgement in five minutes. For such abusive the Court Power,to violation in Equal
11
     Right for fair trial, to corrupt OCSC legal system. The judiciary is independent ofthe
12
     ~ authorities, let us allow the due process of the legal investigation to take its course.
13
         Consequently, Defendants against constitution fundamentally for:"No person
14
     ~ shall be deprived of life, liberty of property without fair procedures in due process
15
     ~ of law." It is why any of lawsuit if with evidence in support, all Courts cannot be
16
     ignoring, and all lawsuits it must adjudicate legal disputes between parties.
17
18
         All of all evidence to proof"Granted Summary Judgement" by the Judge Geroge, as

19   temporary only once in five minutes in OCSC that was completed baseless, it is must

20   invalid immediately, due to Defendants conducted corruption in OCSC legal system.
21      In the theory, due process is protecting Citizen Civil Right, if deprivation by someone
22   from government with attorneys engaged in constancy, corrupt OCSC fair processual,
23 'that has as significant portions of a state legislature's substantive jurisdiction can be
24   restricted by its Due Process oflaw under Fourteenth Amendment application.
25    All fact to proof, Plaintiff protects by due process of law under 14th Amendment,
26   constitution principle of fundamental fairness for Citizen's Civil Right Immunity!
27
     42. U.S.C. 1983 is protecting Citizen Civil Right, if deprivation by the Government
28


                                                    4

        PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAL,"1'U PUKSUAN'1' llUE YRUCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 5 of 23 Page ID #:479




 1   Police in force actions, which is part offourteenth amendment, but not apply in this case.

 2   Plaintiffis demanding the Bench trial which scheduled in Federal Court on May 28,2024.

 3     Citation:(recognizing applicability ofthe doctrine to abuse of process and other
 4   claims); Baltimore Scrap Corp. v. David J. Joseph Co., 81 F. Sup.2d 602
 5      II. Noerr doctrine Sham Exception cannot shield KER's evil motive to
 6   purpose of harm,tort, extortion, anonymous, perjuries, deceived judgement.
 7   Defendants destroyed of Noerr-Pennington Doctrine Protection totally, due to
 8   engaged in consparicy, corrupt OCSC filing and legal system, violation in due
 9
     ~ process of law and twice deprived Plaintiffs civil right for fair trial.
10
             What is the Sham Exception to the Noerr-Pennington Doctrine?
11
      The Noerr-Pennington immunity is a limited exemption from antitrust liability for
12
     certain actions by individuals or groups that are intending with that action to influence
13
     government decision-making, which can be legislative, executive, or judicial.
14
        As you might expect with any exception, parties that want to get away with antitrust
15
     liability try to fit their conduct within it.
16
            That is one reason why the Supreme Court makes it clear that exceptions,
17

18
     exemptions, and immunities to the antitrust laws should be construed narrowly.

19   For better understanding, it refers The Ninth Circuit has identified "three circumstances

20   in which the sham litigation exception applies," including:(1)"where the lawsuit is

21   objectively baseless and the defendant's motive in bYinging it was unlawful"
22    Response (1): Initially, Defendants let courtroom Supervisor Stacy D, Secours twice
23   to hold onto Plaintiff's opposition summary judgement documents, not scan to docket.
24 'After that, it is easy let Judge Stephanie George, as temporary only once in five minutes

25   to granted summary judgement straightway. She was intentionally to against fair due
26   proceeding without having Plaintiff opportunity to be heard and show all evidence in
27
     support in this lawsuit, it was disallowed and deprived Plaintiff's civil right for fair trial
28


                                                           5

        PLAINTIFF IN UYYUSI'I~IUN MU'1'1ON '1'U ll15M155 SAC,'1'U YUKSUAIV'1' llU~ YKUI;r:JJ 14TH AMr:1VllM~1V'1'
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 6 of 23 Page ID #:480




     and children's safety. All evidence to proof Defendants unlawful conducted in violation

 2 due process oflaw and against constitution of Fourteenth Amendment. As It is Granted
 3 Summary Judgement was baseless, due to without opposition. Sham Exception Apply!
 4 (2) "where the conduct involves a series oflawsuits `brought pursuant to a policy of
 5   starting legal proceedings without regard to the merits'andfor an unlawful purpose"
 6   Response (2). Since the lawsuit started until to present, no any of Judge or judgement
 7   common on Merit, Only KER outright lied number oftimes. Please see evidence to
 8   proof from his emailed on 4/14/2023, docket #31, e~ibit 8.:
 9    "The Appellate Court Judges thought your claim was entirely without merit."
10
     Plaintiff request for name of Judges, but no any answer. Plaintiff cannot find such
11
     common from Appellant Court's Opinion and any of documents from Appellant Court,
12
     ~ Plaintiff request that responding since, May 23, 2023. docket 22. After half year passed
13
     ~ by; still have no responding. Plaintiff is pursuant for fair trial, protect children's safety,
14
     to prevent anyone injury again, based on all evidence in strong support MERIT.
15
     Defendants realize all truthful representation which is Plaintiff is unbeatable if to have
16
     ~ court trial, it was why Defendants in unlawful purpose to against constitution as
17
18   lawyers but fraud upon in beginning. No Judge common on Merit, only KER outright

19 (lies. Undeniable evidence in support strong merit, KER Sham Exception Applies!
20   (3) "ifthe allegedly unlawful conduct consists ofmaking intentional
21   misrepresentations to the court, litigation can be deemed a sham if `a party's knowing
22          upon, the court deprive the litigation ofits legitimacy."'Sosa, 437 F.3d at 938
23 (quoting Kottle v. NW. Kidney Ctrs., 146 F.3d 1056, 1060 (9th Cir. 1998))
24   Response(3)KER knowing his fraud upon initially, he engaged in conspiracy with
25   someone from the City ,let OCSC Supervisor to hold onto Plaintiff opposition
26   summary judgement document, same as let referee to kike out opposition, without
27
     competition, only KER's opinions running all the way to deprived Plaintiff's fair trial.
28


                                                    6
        PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 7 of 23 Page ID #:481




 1    Plaintiff is determined Civil right to have court trial that is going conduct justify fairly,

 2   and with procedural regularity by an impartial judge and his team in which the Plaintiff

 3   is afforded her rights under the U.S. Constitution fourteenth Amendment.
 4     Both parties focus on Plaintiffs civil right for fair trial deprived by Defendants.
 5   Defendants able engaged in conspiracy to corrupt OCSC legal filing system, twice to
 6 ~ deprived Plaintiff for fair trial, but not in Federal Court, not even once, it is zero.

 7     KER was perjury on Judge's conclusion its must timely filed without oral argument
 8   and deceived to untimely filed in Appellant Court, but cannot in Federal Court.
 9     KER able let Judge, granted summary judgement without opposition documents and
10
     no oral argument, under penalty of perjury on notice of ruling: "that havefully
11
     argument, as well as the evidence presented.""How can in five minutes to do so? Also,
12
     let judge as temporary, signed granted summary judgement after 90 days, according
13
     court rule 3.159, within 50 days. For the such abusive Judges' power to against court
14
     rules to deprive Plaintiff's fair trial, the judiciary is independent of the authorities, let us
15
     allow the due process of the legal investigation to take its course.
16
      As self-defense, Plaintiff is a victim, for all efforts and courts legal actions, only for
17

18
     one purpose, to pursuant fair trial, is important matter of due process 14th Amendment.

19     KER fraud upon lawsuit initially and in most recently, KER filed docket #33.

20   On 11/21/2023, KER continue under Federal court are making Eight false statements.
21   In opposition Plaintiff, has citizen's duty, must let Federal court knowledge that KER
22   has been fitting in well with the Ninth Circuit has identified three circumstances in
23   which the sham exception litigation applies. If this Lawsuit has no merit,"What do you
24   afraid of both of defendants engaged in conspiracy, as both are legal professional
25   knowing fraud upon, to allowed or disallow to corrupt OCSC flinging legal system, to
26   conducted litigation can be deemed a sham exception apply! It this crime for such
27
     horribly, deformation, anonymities, harassing, extortion, deceived judgement, under
28



        PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 8 of 23 Page ID #:482




     penalty of perjuries, without courts dispute legal issue between parties, without

 2   opposition and twice deprived by Defendants, to deprive Plaintiff's civil right for the

 3   litigation of its legitimacy. All above, KER's Sham Exception Applies.
 4     Aso, KER charged his legal fee $9,500 split 50/50 to both parties. It was seemed he
 5   was in business to collect monetary in the middle, that was conflict of interest. I was so
 6   confused:"was that a legal?""What kind oflaw is allowed to?" For such greedy
 7   mentality, can have no moral standard,just evil motive in and easy to corrupt our
 8   country, spend hundreds of years build up great legal system, which fundamentally
 9 Equal Right for fair trial that is making outstanding in the World.
10
     "Who should KER to represent too, even I have no any of agreement for his service?"
11
     That time, also, I felt it was not fair to the City paid him for his misrepresented the City.
12
      For example, in California Motor Transport v. Trucking Unlimited,u the United
13
     States Supreme Court held that the NoerrPennington doctrine did not apply where
14
     defendants had sought to intervene in licensing proceedings for competitors, because
15
     the intervention was not based on a good-faith effort to enforce the law, but was solely
16
     for the purpose of harassing those competitors and driving up their costs of doing
17
18   business. The sine qua non of a "sham" proceeding is not the purpose to harm a

19 'competitor, but rather the absence of any purpose to obtain government action. Thus,
20   initiating an administrative proceeding that one hopes to win to harm one's competitors
21   is within the ambit ofthe Noerr—Pennington doctrine, while initiating a similar
22   proceeding that one does not meaningfully intend to win solely to delay one's business
23   competitors is within the sham exception.
24    Defendants claimed protection under Noerr-Pennington doctrine does not apply.
25    It is why granted summary judgement was baseless due to without opposition.
26   KER's evil motive repeatedly conduct all, there shameful sham exception Applies.
27
     There is no any of doctrine can shielded such evil motive to abusive in due Process
28


                                                  s
        PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 9 of 23 Page ID #:483




 1   the sand thereby (allegedly) injuring her left arm and side,"KER twist the truth, which
 2   is not left side, its broken bone on left heel first and left forearm after. In that suddenly
 3   moment, fortunately, I used left forearm to hold on sand ground, which the strength
 4 from shoulder in support, that to avoid up body, face, chest, head to impact on sand
 5   ground. We can imagine, how powerful to broken heel and left forearm fixed inside six-
 6   screw to joint together and heel broken is stay in permanent, due to I scared surgery
 ~   again. It is why let the City paint `KEEP OFF" Waring again is the must!
 g   Why KER cannot mention all caused this injury due to no warning sign for in under
 9   compact sand submerge with high tidal, claylike same as concreate surround subject?"
10
     Especially, have two declarations from the City's to proof submerge with high tides,
11
     how slippery and fall on solid same as concreate without warnings, same as porthole.5:
12
     KER filed False Statement to Federal Court—FIVE: dkt #33, pg 8:17-19; pg. 9:1
13
     "Plaintiffis now presenting this SAC in an attempt to delay paying costs owed the City
14
     related to the Superior Court lawsuit andfor the impYoper purpose ofharassing the
15
     City ofNewpoYt Beach and its counselfor diligently defending the state claims against
16
1~   the City and being the prevailing party." KER is extreme shameful to claim he is
1g   prevailing party, due to let referee to kick out opposition, only KER running all the

19 ~'~'ay, without competition, thereafter, KER he is truly worse than hit run driver. After
20   caused Plaintiff injured without warning in underground water, he turned around claim

21   victims to pay the deposition cost which is disallowable cost by CCCP 1033.5(b)(2).
22 KER malicious threaten to \extortion and garnish victim bank account. This time, he
23   twists to harassing cost as "diligently defending as prevailing party.""What is harasses
24   cost?"Who did you payable to?""what's description and breakdown? "Is this
25   verifiable." KER is not prevailing party legally, he deceived judgement from timely
26 to untimely and Appellant court adopted his perjury to dismiss appeal was untimely.

27   This is evidence to proof KER threaten and extortion in Federal Court, sham exception
28


                                                   t~
        PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 10 of 23 Page ID #:484




  1   of law, no any of immunity can protect Defendants to deprive Plaintiffs Civil

 2    Right. Recently, KER continue viciously threaten Plaintiff in proceeding on the

 3    Federal Court.      Citation 1. Amdt14.S 1.8.13.1 Overview of Fundamental Right.
 4      III. Undeniable All Evidence to proof KER misrepresent to Federal Court
 5
      repeatedly making false Statements, the purpose is continued to deprive Plaintiffs
 6
      civil right for fair trial and children's safety. See KER recent filing docket #33 on
 7
      11/21/2023. 1: KER files false Statement to Federal Court: ONE: dkt #33, p.8: 6-9.
 8
      "Plaintiff's OCSC case was dismissed by way ofa motionfor summaryjudgement
 9
      which the Court ofAppeal, Fourth District affirmed. Plaintiff's petitionfor review was
 10
      also denied by the California Supreme Court. Plaintiff's claim has already been ~lv
 11
      adjudicated." Undeniable evidence in support KER has been lies in all the times.
 12
      Absolutely, that not been adjudicated, due to defendants corrupt OCSC filing legal
 13

 14   system, to hold onto opposition summary judgement.

 15   Therefore, the Granted Summary Judgment was baseless, due to only based the City's

 16   opinion, without competition. See from Appellant Courts's opinion on page 2.
 17 "The Cityfiled a motionfor summaryjudgement, the motion is not in the record. Nor is

 18   Fan's opposition to the summaryjudgement record motion, ifany."
 19   "In addition, Fan's allegation she opposed the summaryjudgement which are new
20    evidence submitted after the ruling on the summaryjudgment, which we cannot
21    consider in reviewing the ruling."see from Appellant Court's Opinion, page five.
22
      Appellant Court cannot review in OCSC' Granted Summary Judgement due to there
23
      was no records and new evidence after granted summary judgement on 12/3/2020.
24
      Obsoletely, Supreme Court in San Francisco have no written opinion and no reviewing,
25

26    due to too busy with hundreds of cases a day. Also, Defendant has no any of responding
27    since Plaintiff filed "Petition of rehearing." In Appellant Court on September 6, 2022.
28    The Supreme Court suggested I should file with new evidence to Federal Court.

                                                  9
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 11 of 23 Page ID #:485




      Plaintiff has been many times to correct with evidences to proof for there was not

  2   been fully, and cannot adjudicated in the lawsuit. Even Appellant Courts cannot
  3   review due to no opposition summary judgement record. Because Defendants
 4    engaged in conspiracy and violation hold onto opposition Summary Judgement
  5   documents. But KER constant under penalty of perjury in Federal Court.
 ~I 12: KER files false Statement to Federal Court: TWO:SAC docket #31, Exhibit 6.
              See KER recently email On April 13, 2023: SAC docket #31, e~ibit 6
 8    "The appellate courtjudges thought your claim was entirely without merit.""What is
 9
      name of Judges told you(KER)or told someone from the City about their thought?"
 10
      "Why I cannot find such common from Appellant Court's opinion?"
 11
      Only KER's Evil motive outright lied about Appellant Court Judges mentioned Merit
 12
      number oftimes. In fact, from my knowledge, have no Judges and no Judgments
 13
      common on MERIT, because in this lawsuit, have undeniable evidence in support, no
 14
      Judge can ignore when have evidence in support, except Judge Stephine George, she is
 15
      part of Defendants corruption OCSC team. KER repletely outright lies in Federal Court.
 16
      3: KER files false Statement to Federal Court: THREE: docket #33, page 7, line 23
 17

 18
      KER is lying on Plaintiff's, age around ten times, which from the date I was injured on

 19   May 15, 2018, that date, my age was 63, please see Hoag Hospital Medical Record.

20    After Plaintiff corrected server times KER should change from 66 to the year was 63.
21    I thought it was KER maybe made mistake in beginning, but after I correction over and
22    over, from OCSC to Federal Court, KER remaining no change, then, I realized KER
23    has been lying purposely discrimination on my age and repeat to make fault statement.
24    It is very hard for me to understand:"Why KER cannot stop lying, as a legal
25
      professional, keeping outright lies under the Court for the United States?" Why? Why?
26

27    4: KER filed False Statement to Federal Court: FOUR: see docket #33,P. 8: 2 — 3

28    KER descript: "As herfeet hit the sand, the momentum caused heY tofallforward into


                                                     io
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PUNSUAN'1'llU~ YRUC~55 14TH AM~1VllM~:N'1
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 12 of 23 Page ID #:486




  1   applies and Punitive fine is the must!

  2   It is truly horrible and totally faceless shameful. SHAM ON YOU!

  3   Absolutely, the Court for United States, cannot allowing KER as legal professional
 4    using diligent defending," to cover up his evil motive to engaged in someone from the
  5   City(demand name and position) conspiracy, twice hold onto Plaintiff's Opposition
 6    summary judgement documents, violation in due process of law, to corrupt OCSC legal
 7    system, to deprived Plaintiff's Civil Right for fair trial and children's safety.
 8    If allowed only one-party's opinion,"Why we are People need Courts and Judges?"
 9    Because judicate legal dispute must between parties, that is principle of law.
 10
      Therefore, OCSC granted summary judgement totally baseless, due to no opposition.
 11
      6: KER files false Statement to Federal Court —SIX: see docket 31,SAC exhibit
 12
      1On October 17, 2023, KER emailed: "No Court has ever ruled in youfavor —not
 13
      even once, on any matter, at any time —and there are legal consequencesfor those that
 14
      bringfalse andfrivolous lawsuits. The consequences are you mustpay the Cityfor the
 15
      costs it incurred defeating your unsupported and meritless lawsuit(s)."
 16
      "Why KER very much like using words: ever, anytime, any matter, not even once, on
 17
 18   any time and any matter?" Because he has been using such maximum words,

 19   repeatedly, from new lies to cover up old lies,just cannot stop. Absolutely,

20    misrepresent to the Federal Court. In OCSC Assigned Judge Salter disallowed charge
21    for KER's legal fee $4,750 which was split 50/50 total of $9,500 between the City and
22    Plaintiff, it was who is favor? Also, denial KER filed twice Sanctions and legal fee, It
23    was who is favor? Yes, I must agree OCSC Granted Summary Judgement was did for
24    your favor, why? Because Defendants engaged in conspiracy to corrupt OCSC filing
25    system, informed Supervisor hold onto Plaintiff's opposition summary judgement
26    documents. Therefore, no judges can see opposition's all evidence and documents in
27
      support of merit, that was truly violation in due process, deceived judgement between
28


                                                   12
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 13 of 23 Page ID #:487




  1   courts. KER conduct all, which determination defendants are liable and guilty to

  2   deprivation of Plaintiff's Civil Rigih for fair trial and children's safety. Its time in

  3   Federal Court, all correction to fix root problem and any of corruption in OCSC.
 4    7: KER files false Statement to Federal Court —SEVEN dkt:33, p.14:4 -17 & SCA
  5   Again, KER's evil motive to winning lawsuit is extremely shameful to claim "because
 6    thatjudgement was entered in the City'sfavor" Because: Defendants engaged in
 7    conspiracy and corrupt OCSC legal system, to deprive Plaintiffs civil right for fair
  8   trial. Therefore, the first sham exception apply. Granted summary judgement is
 9
      totally baseless, due to no opposition. Also refer II Page 5.(1)Defendants informed
 10
      Supervisor Secours twice hold onto opposition summary judgement documents, did not
 11
      ~ show on docket.(2) With Judge George, as temporary only once in five minutes to
 12
      granted summary judgement without opposition document, without engaged in Oral
 13
      Argument, it was truly to proofthe Judge abusive the Power and violation in Equal
 14
      Right for due process of law. (3)KER perjuries filed in notices of ruling in five
 15
      minutes have fully arguments.(4)KER deceived judgement from CCDC timely to
 16
      untimely in Appellant Court. The second sham exception apply, Personal injury
 17

 18
      with addition Civil Right for fair trial in Federal Court(5)KER outright lies to

 19 ~ Courts all the time. Even this time in Federal Court, still misrepresents to making eight

20 ~ false statements.(6)KER Refused response 26(~ joint report under discover plan for

21    17 questions.(7) This time Plaintiff have 20 questions, Federal Court, and Plaintiff all
22    expecting KER answers as soon as possible. Otherwise, the motion cannot dismiss until
23    answer all the questions, for Federal Court knowledge all, thereafter, can help Federal
24    Court for fair ruling. The third sham exception apply, due to all undeniable
25    evidence to proof, Defendants all conduct to corrupt OCSC filing legal system,
26    engaged in conspiracy to violation in due process. KER evil motive to deprive
27
      Plaintiff's civil right for fair trial, therefore, KER under penalty of perjures, deceived
28


                                                    13
         PLAINTIFF IN OPPOSITION MOTION "I'O DISMISS SAL,TO PURSUANT UUE YKUCESS 14TH AMENllMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 14 of 23 Page ID #:488




 1 'Judgements, harm tort, extortion, deformation and anonymity, malisons threaten if do
 2 not drop the lawsuit, he is file frivolous lawsuit again. All of all, KER conduct all ugly
  3   corruptions is in the history.
 4    8:KER files false Statement to Federal Court -EIGHT: docket #33, p14,In 21-27
 5    Legal argument on KER's Conclusion: See KER is repeatedly making false
 6    statements to Federal Court.: "Plaintiff's lawsuit is without merit andfrivolous."
 7    About the merit, refers to a judgment, decision, or ruling that a court will make based
 8    on the law, after hearing all the relevant facts and evidence presented in court."
 9 In this lawsuit, has no any court trial offered opportunity for all the relevant facts and
 10
      evidence presented, no any ofjudgement or Opinion common on Merit. Based on law,
 11
      if have evidence in support, any of courts cannot be ignored.
 12
      Granted summary judgement within the Judge George, as temporary only once in five
 13
      minutes, in beginning, she did not response Plaintiff questions, after she read through
 14
      tentative ruling (that only city's ruling, she should stop reading ask what is Plaintiff's
 15
      respond? Before the last sentence to Granted Summary Judgement. KER immediately
 16
      said: "Thank you your honor" I was emotional after,"That not fair, only for one party
 17
 18
      ruling" She just ignoring me, went to next case. I hold on phone a half hour, hoping can

 19   have chance speak to her, but cut off phone line. It was on 12/3/2020. Next day, KER

20    filed: "Notices of Ruling" under penalty ofPerjury on "had fully argument between

21    parties." After four days, Plaintiff filed: "Contest Tentative Ruling" on 12/7/2020, but
22    KER denial it, I have evidence to proof he received, and the document show in Docket.
23    About frivolous, OCSC assigned Judge denialed KER twice filed Sanctions to threaten
24    Plaintiff if do not withdraw vacate Summary Judgement motion before May 5, 2021, he
25    will file frivolous paper. See SAC,docket #31, exhibit 1. And email 10/7/2023.
26    After two years late, KER tort and threaten again in Federal Court. "ifPlaintiffdoes not
27
      drop the lawsuit pending before Judge Slaughter, you mayface additionalfinancial
28


                                                   14
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 15 of 23 Page ID #:489




      consequencefor secondfrivolous lawsuit." Twice KER filed frivolous propose, to drop

  2   lawsuit, if not, his evil's motive to revenge, to derivate Plaintiff civil right for fair trial.

  3   In the Opposition, Plaintiff fight back to obtain Citizen's immunity for equal civil right
 4    for fair trial and children' safety which deprived by Defendants corrupt OCSC filing
  5   legal system. Therefore, due process oflaw under 14th Amendment is totally apply!
 6    IV. List of Federal Questions, Plaintiff and Federal Court demand KER respond
  7   with evidence to proof. Otherwise,cannot help Federal Court for fair judgement.
 8    Question 1):"What is name and job position from City of Newport Beach with KER
 9 together let Supervisor Stacy hold onto opposition's summary judgement documents?
 10
      Question 2): What are names of Appellant Court Judges told you about their thought
 11
      the claim was entirely without merit?" Because Plaintiff cannot find the word "MERIT"
 12
      from Appellant Court's Opinion. This Federal question is based on KER's email on
 13
      4/13/2023:"The appellate Courtjudges thought your claim was entirely without
 14
      merit."See attached email on SAC docket#33, Exhibit 8.
 15
      Question 3):"Where are evidences to proof meritless in this lawsuit?""Why I cannot
 16
      find from Appellant Court's opinion? We all demand KER respond and evidence proof.
 17
 18   Question 4): "What was Plaintiff bring false, without merit and frivolous lawsuits?"

 19 "Do you have any of evidence in support to proof these false, meritless, and frivolous
20    lawsuits?" KER,its very import, Federal Court, and Plaintiff all demand your respond.
21    Question 5): "If meritless, why Defendants so fear of Plaintiff's opposition Summary
22    Judgement Document and let Supervisor to hold onto? Both of you are legal
23 'Professional,"Do you have knowledge that was the fraud upon initially?"
24
      "Why both of you engage together, to control and corrupt OCSC legal filing system?"
25
      Question 6)"Why did you deceived on judgement was concluded must timely filed by
26
27    assigned judge Salter from OCSC to prejudice untimely to Appellant Court?"

28    Question 7)."Why did you file notices of ruling for fully written and oral argument in


                                                     is
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 16 of 23 Page ID #:490




  1   five minutes in next day after summary judgement courtcall hearing on 12/3/2020?"

  2 "Why did you purpose to under penalty of perjury and outright lies too much?"

  3 "How can have fully written and oral argument of both parties in five minutes?"

 4 "Where these opposition summary judgement documents you let Supervisor hold onto?

  5   Question 8)"Why did you maliciously threaten to garnish payment which disallowable
 6    deposition cost by CPPP 1033.5 (b)(2)?""Why did you change to harassing cost?"
 7 "Who did you make payable to?""When and how much did you made payment?"Was
 8    the same amount of deposition cost?" `Is this the harassing cost can verifiable?"
 9 Question 9)"What kind of evidence to proof Plaintiff is bring in false and frivolous
 10
      lawsuit?" Federal Court and Plaintiff demand KER provide evidence proofthe truth
 11
      Question 10)"Where was evidence to proof meritless?""Why I cannot find common
 12
      from judges?" "Why KER cannot stop outright lies, harassing, even in Federal Court?"
 13
      Question 11)"Why both of you to corrupt OCSC filing system, to allow or disallow to
 14
      control courtroom supervisor to hold onto Plaintiffs opposition summary judgement
 15
      documents?" If Plaintiff bringing false and frivolous lawsuit,"Why Defendants cannot
 16
      allow OCSC assigned Judge to continue for court trial?"
 17

 18   Federal Questions are continued on same email,see SAC docket 31, exhibit 1.

 19   Question 12)On 10/17/2023, KER's same email: "Everybody is now awaYe you are

20    being ofdishonest, the City is even receiving anonymous letters warning that you are
21    trying to commitfraud. It is very sad that you have taken this approach and have
22    chosen to abuse the Court System."" KER,can you give name and evidence to proof
23    aware of Plaintiff being of dishonest? "What's commit fraud Plaintiff try to bring in?"
24    Question 13)"What is name of anonymous?""Why you hiding on this, if it was true?"
25 "Show to the Federal Court and Plaintiff if the City receiving anonymous letter again?

26 "How many anonymous letters the City receiving?" I only see one from KER's emailed

27
      on 2/7/2022. If no answer above which to proof KER is a real scammer
28


                                                  16
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 17 of 23 Page ID #:491




  1   Question 14)."What was Plaintiff to do to abuse the Court system?"

  2   Question 15)"Where is the evidence to proof Plaintiff is trying to commit fraud?"

  3   KER's same email continue: "I encouYage you to stop makingfalse statements to drop
 4    the lawsuitpending before Judge Slaughter or you mayface additionalfinancial
 5    consequencesfog the (second)frivolous lawsuit you havefiled against the City."
 6    Question 16)"What kind of false statements Plaintiff is making?" Need evidence to
 7    proof false statement, Federal Court and Plaintiff are demanding KER to responding.
 8    Otherwise, the motion cannot dismiss due to KER accusations, you must tell the truth.
 9
      Question 17)."Why you KER repeatedly to threaten Plaintiff drop lawsuit pending
 10
      before Judge Slaughter?" Plaintiff is facing second frivolous lawsuit. Its evidence to
 11
      proof KER continues tort harassing to deprive Plaintiff `s civil right for fair Trial.
 12
      Question 18)"Do you forget Judge Salter denialed the Sanction for you filed frivolous
 13
      paper if I did not withdrawal the vacate the wrongful summary judgement?"
 14
      "Why did you do it again in Federal Court for second frivolous lawsuit?"
 15
      Question 19)"How did you manipulated between Judges for signing Granted
 16
      Summary Judgement?" After assigned Judge refused signed on 1/8/2021, you turned to
 17

 18
      "Did you Defendants allowed Judge only once in the case in five minutes to do so?"

 19 "Why did you have many lies and deceived Judgement from OCSC to Appellant Court?

20    Question 20)"Why did Defendants let OCSC Supervisor Secours to hold onto Plaintiff
21    opposition summary judgement documents?""Was that easy for Judge George, as
22    temporary, only once in five minutes to granted summary judgement straightway?"
23 "How can have fair judgement without Plaintiff's opposition documents?"

24
      "Why KER files Eight false statements to proof misrepresentation to Federal Court?"
25
      The motion is cannot dismiss until have KER's respond and evidence to proof
26

27    twenty Questions, able help Federal Court judicate legal dispute between parties.

28



         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 18 of 23 Page ID #:492




  1                V.     F.R.C. P Rule 12(b)(6) does not apply.

  2   What is the difference between 12(B)(6) motion and a summary judgment motion?

  3   Motions to dismiss under Rule 12(b)(6) are adjudications on the merits, and therefore
 4    should be granted with caution. Summary judgment motions ask the court to examine
  5   the record and determine whether any material questions exist for a jury to decide.
 6           As a practical matter, Rule 12(b)(6) motions are rarely successful, if their success
  7   usually has more to do with the judge than the law. However, since the Federal Rules
 8    attempted to adopt the successes and avoid the failures of code pleading, the purpose of
 9 Rule 12(b)(6) seems to conflict with the purpose of modern pleading.
 10
      Although the liberal pleading rule generally allows a plaintiff to set forth a claim in a
 11
      short and plain statement, The problem is when and how the district court has granted a
 12
      Rule 12(b)(6) motion and the court of appeals has reversed or vacated that grant in a
 13
      considerable number of cases.' There are conflicting views on the interpretation 12(b)6)
 14
      The effect of a Rule 12(b)(6) motion is not clear. For example, it is not clear precisely
 15
      what effect it has upon the application of res judicata. Second, the standards and
 16
      operation of Rule 12(b)(6) are not clear as to the determination of whether the motion
 17
 18   should be granted or denied. Even the objective of Rule 12(b)(6)is not clear.

 19   The Federal Rules and other statutes adopted various devices which have diminished

20    the functions of Rule 12(b)(6). Behind the policy there is a basic precept that "the
21    primary objective of the law is to obtain a decision on the merits of any claim; and that
22    a case should be tried substantially on the merits rather than technically on pleading.
23    On other hand,if the court overlooks defective allegations and allows plaintiff an
24    evidentiary hearing, complaint once done,evidentiary hearing cannot be ignored.
25    See Docket #31, exhibit 9, page 3, from OCSC Assigned Judge Salter post judgement
26    on 6/17/2021. "Finaly, Fan's assertion there is additional evidence out there that City
27
      , and the court should consider is unfortunately too late to be considered by the court."
28


                                                   is
         PLAINTIFF IN OPPOSITION MOT10N TO DISMISS SAL,TU PUKSUAN'1' UUN: YRUCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 19 of 23 Page ID #:493




  1   Why was too late? Because Defendants engaged in conspiracy, to corrupt OCSC filing

  2   system. Initially, informed courtroom's Supervisor hold onto Plaintiff's opposition

  3   summary judgement documents. Secondly, with Judge, only in five minutes courtcall
 4    hearing, there was no any of oral argument, thirdly, KER under penalty of perjury in
  5   Notices of ruling. fourthly, asked assigned judge sign proposed order to grant summary
 6              t, after refused sign by assigned judge, KER turned around to the Judge, as
  7   temporary, only in five minutes, she signed 3/3/2021, no notify to Appeal.
 8    After three months, the motion finally to be heard by assigned Judge on 6/17/2021, it
 9    was why too late back to Court trial was Scheduled on 3/29/2021.
 10
      Defendants conducted all violation in due process of law, only for one propose that
 11
      is to deprived plaintiffs civil right to disallow Plaintiff have fair trial and
 12
      children's safety that for prevent anyone injury again.
 13
 14     VI. Premise Liability of Public Entities Apply! In one-half year statues imitation

 15   On June 17, 2021, Superior Court of Orange County assigned Judge Salter post

 16 judgement: "the court concludes it must allow the motion to proceed as timelyfiled."
 17 "For her remedy, ifstill timely, is now tofile a notice ofappeal."
 18   On 6/23/2021, after six days, Plaintiff filed: "notice of appeal" in Appellant Court.
 19   On 12/2/2022, Plaintiff filed with New Evidence to Federal Court in one-half years.
20    All property owners, including the government, have a responsibility to maintain
21    reasonably safe premises. Liability ofPublic Entities 835 apply within one-half years.
22
      See California Government Code Section: Liability of Public Entities 835: Apply
23
      "Except as provided by statute, a public entity is liablefor injury caused by dangerous
24
      condition ofits property ifthe plaintiffestablishes that the property was in a dangerous
25
      condition at the time ofthe injury, that the injury was proximately caused by the
26
      dangerous condition, that the dangerous condition created a reasonablyforeseeable
27
      risk ofkind ofinjury which was incurred, and that either:"
28


                                                  19
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 20 of 23 Page ID #:494




      See California GC Section: Notice of dangerous condition 835.2 Apply:

  2   "A public entity had actual notice ofa dangerous condition within the meaning of

  3   subdivision (b) ofSection 835 ifit had actual knowledge ofthe existence ofthe
 4    condition and knew or should have known ofits dangerous character.
 5    The City had actual knowledge of the existence dangerous character, but failure provide
 6    warning sign, as same hide WET in under and turn to dangerous condition., cannot
 7    keep visitors and children's safe. See declaration of Mike Halphide who is chief of
 8    lifeguard operation for 36 years. See docket 31, exhibit 3. Page 3-4 SAND section 19:"
  9 ~As a result ofnaturally occurring tides, the sand on the bayside beaches willfrequently
 10
      ~ be submerged during high tides. As a result ofthis naturally occurring phenomenon,
 11
      ~ the sand surrounding the Tower is alsofrequently submerged during high tides."
 12
      ~ Mr. Mike Halphide twice descript high tides is "Frequently" that means foreseeable and
 13
      ~ predictable dangerous condition in this public entity is liable for Plaintiff slip/fall
 14
      pothole injury caused dangerous condition created on four foreseeable on hazard
 15
      condition, but still leave to public intentionally, include children who play there at risks.
 16
      ~ If the government entities fell short of these responsibilities when maintaining a public
 17
 18   park, sidewalk, street, building or another area to protect others from dangerous

 19   condition that can cause injury or damage. If fails to maintain or warn of a known

20 ( danger and someone sustains injuries, be held responsible for keeping free of hazardous
21    conditions by performing routine inspection, a related visitor injury for the victim's
22    economic and non-economic damages. City of Newport Beach Inspector, declaration of
23    Eric Foley: "has never observed children playing on the lifeguard Tower. I have never
24    been asked ifthe Tower was part ofthe playground and have never been told that
25    children have been playing on the Tower. "See docket 31 e~ibit 4.
26    Plaintiff respect Federal Court in support together make sure children jump down at
27
      lifeguard stand if at the save place and order the city provide good due care same as
28


                                                     20
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 21 of 23 Page ID #:495




  1   Oceanfront, and order the city within warning of WET in underground is the MUST!

  2   Because this lawsuit not heard in state Cours(1)OCSC granted summary judgement

  3   was baseless due to Defendants engaged in conspiracy with Supervisor and Judge
 4    corrupt OCSC legal filing system, deprived twice for Plaintiff civil right for fair trial.
  5 (2) Appellant court Judges cannot review opposition Summary Judgement Documents.
 6 that was disallowed by Defendants allowed Supervisor twice hold onto.
 7    There are specific rules governing which cases are heard where. For example, personal
 8    injury cases typically fall under state law and are normally heard in state court.
 9 Opposite, for this case, it was not heard due to Defendants corrupt OCSC legal system.
 10
      Federal court can hear state-law in personal injury case certain conditions as well.
 11
      Plaintiff is well qualified and determine pursuant a premise liability of public entities.
 12
 13                       VII. CONCLUSION
 14    Plaintiff provide all undeniable evident and legal arguments in support truth to establish
 15   this lawsuit within strong Merit foundation. Due obligation of Citizen's duty to prevent
 16   anyone injury again, but the city still hiding the danger in children's park.
 17   KER filed twice frivolous, first time, threaten Plaintiff if not withdrawal before May 5,
 18
      2021, he files sanctions twice. Fortunately, denialed by assigned Judge Salter of OCSC.
19
       Again, KER malicious threatens if do not drop the lawsuit before Judge Slaughter, he
20
       files second frivolous with huge finance consequence. KER's evil motive because he
21
        files frivolous lawsuits, to proof KER is continue violation in due process of law to
22
      deprive Plaintiff `s Civil Right for fair trial and Premise Liability ofPublic Entitles for
23
        children's safety which to prevent that no one injury again at the subject.
24
          Premise Liability of Public Entities, Government Code Section 835 Apply!
25
26
                         Notice of dangerous condition GC 835.2 Apply!

27     Government entities are not shielded from Dangerous Condition of Public Property.

28    Federal court can hear state-law in personal injury case certain conditions as well.


                                                   21
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 22 of 23 Page ID #:496




  1   Because Defendants conducted corruption in OCSC legal filing system, which was

  2   against constitution and destroyed Noerr-Penington doctrine protection.

  3   All evidence to proof proceeds in OCSC, for Grand Summary Judgement is totally
  4   baseless, because without opposition. Appellant Court cannot review this case, due to
  5   no Summary Judgement Record. KER's evil motive also, cannot shield his shameful
 6    sham exception apply.
  7        The judiciary is independent of the authorities, let us allow the due process of the
  8   legal investigation to take its course.
 9      Federal Court and victim all demand KER response Plaintifftwenty request questions.
 10
      Plaintiff hope the day on May 28, 2024, stand up with implicates the protected by the
 11
      petition the government, with processual in due process clause of Fourteenth
 12
      , Amendment Apply. Respect is states that no shall any State deprive any person of life,
 13
      liberty, or property without fair procedures in due process oflaw; nor deny to any person
 14
      within jurisdiction equal protection of laws.
 15
            I declare under the penalty of perjury under the laws of the united State that
 16
      foregoing is true and correct.
 17
 1s                                     Respectfully and Truthfully Submitted
 19                                                   YAXIAN FAN

20
21
22
23    DATED: January 4, 2024                     Plaintiff in Self -Represent
24
25
26
27
28


                                                  z2
         PLAINTIFF IN OPPOSITION MOTION TO DISMISS SAC,TO PURSUANT DUE PROCESS 14TH AMENDMENT
 Case 8:22-cv-02178-FWS-DFM Document 35 Filed 01/04/24 Page 23 of 23 Page ID #:497




Yaxian Fan
Email: fay731 yahoo.com
Address: 248 verbrook,
Irvine, CA 92620
Phone: 310 486-5282
Plaintiff in Self-Represent

              UNITED STATES DISTRICT COURT CENTRAL DISTRICT OFCALIFORNIA
      Plaintiff, Yaxian, Fan, vs.
      Defendants: City of Newport Beach and
      MR. Keith E. Rodenhuis, as Second Defendant,
      PROOF OF SERVICE BY EMAILS. Case Number: 8:22-CV02178-FWS-(DFMx)
      I, Plaintiff declare send emails as follows:
      Keith E Rodenhuis Keith~a~,kerlegal~roup.com
      Amber McCall amber(a~kerlegal~p.com
      Amanda Ellis amenda(a~kerle~algroup.com
      Rodger Greiner rodger@kerlegalgroup.com
       fanvcnb~a,projects.filevine.com
      which is in where the emailing described in their office in Irvine of Orange County.
      I served the document: on January 4, 2024
      PLAINTIFF IN OPPOSITION TO MOTION TO DISMISS SCA. OURSUANT
      CITIZEN'S IMMUNITY.FOR CIVIL RIGHT FOR FAIR TRIAL AND
      CHILDREN SAFETY,WITH DUE PROCESS UNDER 14TH AMENDMENT.
      on all interested parties in this action by list above emails.

      I declare under penalty of perjury that the foregoing is true and correct.




      Yaxian Fan, as Plaintiff in Self-Represent
      Executed this 3rd day of January 4, 2024
